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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 9:20-CV-82296-RUIZ/REINHART


  THERAPEUTICSMD, INC.,

                 Plaintiff,

  v.


  EVOFEM BIOSCIENCES, INC.,

                 Defendant.
                                       /

          THERAPEUTICSMD’S ANSWER TO DEFENDANT’S COUNTERCLAIM

          In its Answer to the First Amended Complaint (ECF No. 110), defendant Evofem

  Biosciences, Inc. (“Evofem”) stated in a footnote 1: “On May 12, 2021, Evofem served its

  Counterclaim against TXMD, (ECF No. 29), which TXMD answered on May 21, 2021. (ECF

  No. 31.) The Counterclaim is incorporated herein by reference pursuant to Fed. R. Civ. P. 10(c).”

  The numbered paragraphs of this answer correspond to the numbered paragraphs of Evofem’s

  previous Counterclaim (ECF No. 29).

                                             PARTIES
       1. Admitted.

       2. Admitted.

                                  JURISDICTION AND VENUE

       3. TherapeuticsMD admits that Evofem purports to bring its Counterclaim pursuant to 15

  U.S.C. § 1119. The remaining allegations in Paragraph 3 of the Counterclaim constitute

  conclusions of law, and therefore do not require a response. To the extent those allegations are

  deemed to constitute allegations of fact, TherapeuticsMD denies the allegations set forth in
  Paragraph 3 of the Counterclaim.
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     4. TherapeuticsMD admits that it initiated the above-captioned action, that its principal

  place of business is in this judicial district, and that personal jurisdiction and venue are proper for

  purposes of this action. TherapeuticsMD denies any remaining allegations in Paragraph 4 of the

  Counterclaim.

                                                 FACTS

     5. TherapeuticsMD admits that it is the owner of U.S. Trademark Reg. No. 5,602,058 for

  the word mark IMVEXXY (the “Asserted Registration”) and that it asserted in paragraph 12 of

  its Complaint against Evofem that it is the owner of the Asserted Registration.

     6. TherapeuticsMD admits to have first used the IMVEXXY mark in commerce at least as

  early as July 23, 2018, and that the Asserted Registration includes an assertion that

  TherapeuticsMD first used the IMVEXXY mark in connection with “Pharmaceutical

  preparations for the treatment of vulval vaginal atrophy” on July 23, 2018. TherapeuticsMD

  denies any remaining allegations in Paragraph 6 of the Counterclaim.

     7. TherapeuticsMD denies the allegations in Paragraph 7 of the Counterclaim.

     8. TherapeuticsMD denies the allegations in Paragraph 8 of the Counterclaim and alleges

  that the quoted excerpt from ¶ 9 of the Complaint is incomplete and taken out of context. The

  complete statement made in ¶ 9 of the Complaint is as follows: “As a result of its research and

  development in the field of women’s healthcare products, TherapeuticsMD obtained marketing
  approval for several products from the U.S. Food and Drug Administration (“FDA”), including

  IMVEXXY®, which was approved by the FDA in May 2018 for the treatment of moderate-to-

  severe dyspareunia (vaginal pain associated with sexual activity), a symptom of vulvar and

  vaginal atrophy, due to menopause.”

     9. TherapeuticsMD denies that its indication in its application for FDA approval was limited

  to the quoted excerpt referenced in Paragraph 8 of the Counterclaim. TherapeuticsMD states that

  its indication is for “treatment of moderate to severe dyspareunia, a symptom of vulvar and

  vaginal atrophy, due to menopause.”



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     10. TherapeuticsMD admits that IMVEXXY Prescribing Information, as approved by the

  FDA, states that “IMVEXXY is an estrogen indicated for the treatment of moderate to severe

  dyspareunia, a symptom of vulvar and vaginal atrophy, due to menopause.” TherapeuticsMD

  denies any remaining allegations in Paragraph 10 of the Counterclaim.

     11. TherapeuticsMD admits the statement quoted from its press release. TherapeuticsMD

  denies the remaining allegations in Paragraph 11 of the Counterclaim.

     12. TherapeuticsMD denies the allegations in Paragraph 12 of the Counterclaim.

     13. TherapeuticsMD denies the allegations in Paragraph 13 of the Counterclaim.

     14. TherapeuticsMD admits that IMVEXXY treats moderate to severe dyspareunia, a

  symptom of vulvar and vaginal atrophy, due to menopause. TherapeuticsMD denies any

  remaining allegations in Paragraph 14 of the Counterclaim.

     15. TherapeuticsMD denies the allegations in Paragraph 15 of the Counterclaim.

     16. TherapeuticsMD states that the FDA approved IMVEXXY “for the treatment of

  moderate to severe dyspareunia, a symptom of vulvar and vaginal atrophy, due to menopause.”

  TherapeuticsMD denies any remaining allegations in Paragraph 16 of the Counterclaim.

     17. Admitted that dyspareunia is a symptom of VVA, due to menopause. Otherwise the

  allegations of paragraph 17 are denied.

     18. TherapeuticsMD is without sufficient knowledge or information sufficient to form a
  belief about the truth of the allegations of this Paragraph, and on that basis, denies them.

     19. TherapeuticsMD denies the allegations in Paragraph 19 of the Counterclaim.

     20. TherapeuticsMD denies the allegations in Paragraph 20 of the Counterclaim.

                                               COUNT 1

              Request For Cancellation of Asserted Registration For Abandonment

     21. TherapeuticsMD repeats and realleges its responses to the preceding paragraphs of the

  Counterclaim as if fully set forth herein.

     22. TherapeuticsMD admits the allegations in Paragraph 22 of the Counterclaim.



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     23. TherapeuticsMD denies the allegations in Paragraph 23 of the Counterclaim.

  TherapeuticsMD further states that even if Evofem meets the strict burden of proof on Evofem’s

  allegations of nonuse, such allegations are excusable.

     24. TherapeuticsMD denies the allegations in Paragraph 24 of the Counterclaim.

     25. TherapeuticsMD denies the allegations in Paragraph 25 of the Counterclaim, and

  affirmatively asserts and alleges that it has and still is using the IMVEXXY mark in connection

  with its IMVEXXY product, which constitutes use of the IMVEXXY mark on the goods

  identified in the Asserted Registration. TherapeuticsMD further states and alleges that it intends

  to continue using the IMVEXXY mark in connection with its IMVEXXY product, and thus also

  intends to continue using the IMVEXXY mark on the goods identified in the Asserted

  Registration.

     26. TherapeuticsMD denies the allegations of paragraph 25 of the Counterclaim and

  affirmatively asserts and alleges that the FDA approved IMVEXXY “for the treatment of

  moderate to severe dyspareunia, a symptom of vulvar and vaginal atrophy, due to menopause.”

     27. TherapeuticsMD denies the allegations in Paragraph 27 of the Counterclaim.

     28. TherapeuticsMD denies the allegations in Paragraph 28 of the Counterclaim.

                               EVOFEM’S PRAYER FOR RELIEF

  TherapeuticsMD denies that Evofem is entitled to the relief requested, or to any relief
  whatsoever.

                        THERAPEUTICSMD’S PRAYER FOR RELIEF

     WHEREFORE, TherapeuticsMD prays for judgment on Evofem’s counterclaim as follows:

     A. Dismissal with prejudice of Evofem’s Counterclaim in its entirety;

     B. Denial of all remedies and relief sought by Evofem in its Counterclaim;

     C. A finding that this case is exceptional, and awarding TherapeuticsMD its costs, expenses

         and disbursements in this action, including reasonable attorneys’ fees; and

     D. Awarding TherapeuticsMD any other and further relief as this Court deems just and
         proper, including all of the relief TherapeuticsMD sought in in its Complaint.

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                                          JURY DEMAND

         In accordance with Federal Rule of Civil Procedure 38(d), Plaintiff and Counterclaim-

  defendant TherapeuticsMD requests a jury trial on all issues triable by a jury.


   Dated: December 14, 2021.                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 14th day of December 2021, I electronically filed the
  foregoing with the Clerk of Court by using the CM/ECF system which served a copy on the
  following:

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